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                                      s/Sam Harton
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                                Antonio M. Romanucci
                                Sam Harton
                                Josh Levin
                                Stephen Weil
                                ROMANUCCI & BLANDIN, LLC
                                321 N. Clark Street, Suite 900
                                Chicago, IL 60654
                                Tel: (312) 458-1000
                                Fax: (312) 458-1004
                                aromanucci@rblaw.net
                                b.raveendran@rblaw.net
                                sharton@rblaw.net

                                Maria B. Glorioso (#24435), T.A.
                                Vincent J. Glorioso, Jr. (#6064)
                                THE GLORIOSO LAW FIRM
                                2716 Athania Parkway
                                Metairie, LA 70002
                                Tel: (504) 569-9999
                                Fax: (504) 569-9022
                                maria@gtorts.com

                                Devon M. Jacob (pro hac vice)
                                JACOB LITIGATION, INC.
                                P.O. Box 837
                                Mechanicsburg, PA 17055-0837
                                Tel: (717) 796-7733
                                djacob@jacoblitigation.com




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                              CERTIFICATE OF SERVICE

  I hereby certify that the above and foregoing was electronically filed with the Clerk of

Court of the United States District Court for the eastern District of Louisiana on June 24,

2025, by using the CM/ECF system, which system will send a notice of electronic filing to

             appearing parties in accordance with the procedures established.


                                           /s/ Sam Harton_____
                                           Attorney for Plaintiffs




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